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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

WALT DISNEY PARKS AND RESORTS U.S., INC.,

      Plaintiff,

      v.                                            No. 4:23-cv-163-AW-MJF

RON DESANTIS, in his official capacity
as Governor of Florida, et al.,

     Defendants.
______________________________________/

              STATE DEFENDANTS’ MOTION TO DISMISS
             AND INCORPORATED MEMORANDUM OF LAW

      In 1967, a sweetheart deal with the State vested Walt Disney Parks and

Resorts (Disney) with unprecedented power to govern itself. That year saw the

creation of the Reedy Creek Improvement District (RCID), a local-government

entity that governed Disney’s territory in central Florida. The District’s governing

structure exploited Disney’s status as the majority landowner by giving

landowners—mainly of course Disney—one vote per acre of land for each seat on

RCID’s governing board. The result was that Disney had the pleasure of selecting

every member of RCID’s board from 1967 to present—“as clear a case” of corporate

capture “as this Court is ever likely to see.” DE87 ¶ 10.

      Special districts in Florida typically operate for limited governmental

purposes—water-management services, for example. RCID’s powers, however,
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gave Disney carte blanche to govern itself. Local taxes? Disney set them. Building

and safety codes? Disney set those, too. Caps on land development? Disney made

the final call. Disney could exercise eminent domain, permitting it to annex territory

even outside the District’s borders, all without legislative approval. It could build

and operate an airport, or even a nuclear power plant.

      In 2022, the Legislature passed, and the Governor signed, a tandem of bills

reining in RCID’s outsized authority and reconstituting it as a new entity—the

Central Florida Tourism Oversight District (CFTOD), the governing board of which

would be selected not by a California corporation, but by the People’s elected chief

executive—the Governor—and confirmed by the People’s representatives in the

Senate.

      In a last-ditch effort to reinstate its corporate kingdom, Disney has sued the

Governor, the Secretary of the Florida Department of Economic Opportunity (now

the Florida Department of Commerce), the, the CFTOD Board, and CFTOD’s

Administrator for First Amendment retaliation. Disney’s claim is meritless for many

reasons, not least of which is that “the First Amendment does not support the kind

of claim [Disney] makes here: a challenge to an otherwise constitutional statute

based on the subjective motivations of the lawmakers who passed it.” In re Hubbard,

803 F.3d 1298, 1312 (11th Cir. 2015).




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       But first things first. The Court lacks jurisdiction over at least two

defendants—the Governor and the Secretary—who are also immune from suit.

Although Disney has grabbed headlines by suing the Governor, Disney—like many

litigants before it who have challenged Florida’s laws 1—has no basis for doing so.

Neither the Governor nor the Secretary enforce any of the laws at issue, so Disney

lacks standing to sue them, see City of S. Miami v. Governor of Fla., 65 F.4th 631,

643 (11th Cir. 2023); Support Working Animals, Inc. v. Governor of Fla., 8 F.4th

1198, 1201–02 (11th Cir. 2021); Jacobson v. Fla. Sec’y of State, 974 F.3d 1236,

1253 (11th Cir. 2020), and they are improper defendants under Ex parte Young, see

Whole Woman’s Health v. Jackson, 595 U.S. 30, 43 (2021); cf. Jacobson, 974 F.3d

at 1257. Moreover, insofar as Disney challenges the Governor’s legislative acts, he

is entitled to legislative immunity, which shields “both governors’ and legislators’

actions in the proposal, formulation, and passage of legislation.” In re Hubbard, 803

F.3d at 1308.




       1
         See, e.g., Falls v. DeSantis, No. 4:22-cv-166, 2022 WL 19333278, at *1 (N.D. Fla. July
8, 2022) (dismissing Governor from challenge to law he did not enforce); Dream Defs. v. DeSantis,
553 F. Supp. 3d 1052, 1078–79 (N.D. Fla. 2021) (same); Namphy v. DeSantis, 493 F. Supp. 3d
1130, 1137 (N.D. Fla. 2020) (same); Support Working Animals, Inc. v. DeSantis, 457 F. Supp. 3d
1193, 1209 (N.D. Fla. 2020) (same); see also Notice of Voluntary Dismissal Without Prejudice of
Claims Against Defendant Ronald D. DeSantis at 1, Equal. Fla. v. Fla. State Bd. of Educ., No.
4:22-cv-134 (N.D. Fla. July 27, 2022), DE92.

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                             STATEMENT OF THE CASE

       1.      In Florida, “[s]pecial district[s]” are local-government entities that

generally administer one or more discrete governmental functions in a “limited

geographic” region. Fla. Stat. § 189.012(6); see, e.g., Fla. Stat. §§ 298.001, 298.005

(describing water-management districts). Like all “[l]ocal governments,” special

districts are “creatures of the State without any independent sovereignty.” Fried v.

State, 355 So. 3d 899, 908 (Fla. 2023). Accordingly, the State may create, modify,

or dissolve them—powers it exercises often. 2

       In 1967, the State determined that an undeveloped, 43-mile tract of land in

central Florida would benefit from a special district. To that end, it modified a

judicially created special district already operating in the area (the Reedy Creek

Drainage District) and rebranded it under a new name: the Reedy Creek

Improvement District. Ch. 67-764, § 1, Laws of Fla. (1967). From the start, Disney

has been RCID’s supermajority landowner, owning roughly 69% of the District’s

territory. 3




       2
         See, e.g., Gulf Coast Transp., Inc. v. Hillsborough Cnty., 352 So. 3d 368, 372–73 (Fla.
2d DCA 2022) (in which the State dissolved a special transportation district in Hillsborough
County).
       3
         Office of Program Pol’y Analysis & Gov’t Accountability (OPPAGA), Report No. 04-
81, Central Florida’s Reedy Creek Improvement District Has Wide-Ranging Authority 2 (Dec.
2004), https://oppaga.fl.gov/Documents/Reports/04-81.pdf; see also DE87 ¶¶ 31–32.


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       The revamped District was unusual. Unlike most districts—which typically

provide a particular government service—RCID had a lofty mandate to

“experiment[]” with “new and advanced concepts” to “create favorable conditions”

for a “recreation-oriented community” that would both cement Florida’s “leadership

as a tourist state” and encourage “newcomers [to] mak[e] Florida their permanent

home.” Ch. 67-764 at 4–5. To achieve those ends, RCID was given “broad

authorities and rights typically reserved for municipal and county governments.”

OPPAGA Report at 3. For just a few examples, RCID had virtually “exclusive

authority [over] the construction of public roads within the District,” Ch. 67-764 at

2, “superced[ing]” that “of the State Road Department of Florida and of any other

agency or authority of the State,” id. § 10(2). 4 It could exercise eminent domain even

outside the District’s “territorial limits”—including “without limitation [upon]

property owned by any other political body”—and was shielded from the eminent-

domain power of other state entities. Id. § 9(5). It was exempt from the State’s

building and safety codes and could instead adopt codes of its choosing (called the

“EPCOT Codes”). Id. § 23(2)–(3); OPPAGA Report at 4. It could use public funds

to advertise “attractions within the District,” Ch. 67-764, § 9(15), and could stretch

its boundaries without any authorization from the Legislature, id. § 64(1). It could



       4
        The State Road Department is now part of the Florida Department of Transportation. See
Fla. Dep’t of Transp. v. Clipper Bay Invs., LLC, 160 So. 3d 858, 864 (Fla. 2015).

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build and own airports and develop “novel and experimental [transportation]

facilities, such as moving platforms and sidewalks.” Id. § 9(16). It could even

generate and transmit “power through nuclear fission,” and develop “other new and

experimental sources” of energy. Id. § 9(17).

      RCID’s sweeping authority was not its only oddity. Its five-member board of

supervisors was elected not by RCID’s citizens, but by “landowners” in the District,

id. § 4(5), and each landowner could cast one vote for roughly “every acre of land”

it owned in RCID in every board-member election, id. As a result, Disney—RCID’s

vast-majority landowner—had an electoral monopoly for every board seat,

empowering the corporation to hand-select its local regulator. And indeed, since

RCID’s creation, Disney’s chosen candidate has won every board election. See

OPPAGA Report at 2.

      2.     In 2022, the State determined that RCID was an anomalous entity long

overdue for reform. It therefore passed SB 4C in April 2022, which set RCID and

several other antiquated districts for dissolution effective June 2023. See Ch. 2022-

266, § 1(2), Laws of Fla. Later, however, the State concluded that the best course

was not to dissolve RCID, but to reform it—just as the State had reformed the Reedy

Creek Drainage District to pave way for RCID years before. See Ch. 67-764, § 1.




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       The Legislature thus passed HB 9B. See Ch. 2023-5, Laws of Fla. (2023).5

That bill renamed RCID the “Central Florida Tourism Oversight District” and

eliminated the District’s land-based electoral scheme in favor of a governing board

appointed by the Governor and approved by the Senate. Id. §§ 1, 4. The bill also

eliminated RCID’s exemption from Florida’s building and safety codes, id. § 10; its

near-exclusive control over in-district roadways, id. § 9; its abnormal eminent-

domain powers, id. § 8(5); its capacity to build airports and “novel” transportation

facilities, id. § 8(14); its right to transform its boundaries without State approval,

compare Ch. 2023-5, with Ch. 67-764 § 64(1); its power to use public funds to

advertise “attractions” within the District, compare Ch. 2023-5, with Ch. 67-764, §

9(15); and its permission to generate and transmit nuclear power or other

“experimental” energy sources, Ch. 2023-5 § 8(15).

       On February 27, 2023, the Governor signed HB 9B into law and appointed

the CFTOD Board members. DE87 ¶ 93. The bill took effect immediately.

       3.     Disney later filed this lawsuit against the Governor and the Secretary

of the Department of Economic Opportunity (the State Defendants), along with the

new CFTOD Board and CFTOD’s Administrator (the CFTOD Defendants). At first,

it sued the Defendants both for reorganizing RCID and for invalidating two contracts



       5
          All references to HB 9B in this motion refer to sections of the amended CFTOD charter,
not to the section numeration in HB 9B itself.

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that purported to bequeath to Disney much of the sovereign powers previously

reserved for RCID. See DE25 ¶¶ 176–220. But after Defendants filed their motions

to dismiss, Disney amended its complaint to drop the contract-related claims, leaving

only its claim that the State reorganized RCID in retaliation for Disney’s speech.

DE87 ¶¶ 114–24.

                               LEGAL STANDARD

      In deciding a motion to dismiss, the Court must “assume the veracity of well-

pleaded factual allegations” but must not credit mere “labels and conclusions.”

Newbauer v. Carnival Corp., 26 F.4th 931, 934 (11th Cir. 2022) (cleaned up). The

well-pleaded allegations, “accepted as true,” must be sufficient “to state a claim to

relief that is plausible on its face.” Id. (cleaned up). The alleged facts must be “more

than merely possible, and a plaintiff’s factual allegations that are merely consistent

with a defendant’s liability will not be considered facially plausible.” Id. (cleaned

up; emphasis in original). A claim is plausible only “when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009)).

                                    ARGUMENT

      For the reasons set forth in the CFTOD Defendants’ contemporaneously filed

motion to dismiss, the operative complaint fails to state a claim on which relief can


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be granted. This motion raises several other independent bases for dismissal: Disney

lacks standing to sue the Governor and Secretary, who are also immune from suit.

      I.     DISNEY LACKS STANDING TO SUE THE STATE DEFENDANTS.

      The operative complaint fails to plead that Disney has standing to sue the State

Defendants. Support Working Animals, Inc. v. Governor of Fla., 8 F.4th 1198, 1201

(11th Cir. 2021). To show standing, Disney must establish “(1) an injury in fact that

(2) is fairly traceable to the challenged action of the defendant and (3) is likely to be

redressed by a favorable decision.” Jacobson v. Fla. Sec’y of State, 974 F.3d 1236,

1245 (11th Cir. 2020) (citation omitted). Because “standing is not dispensed in

gross,” Disney must demonstrate standing “for each claim that [it] press[es] and for

each form of relief that [it] seek[s].” TransUnion LLC v. Ramirez, 141 S. Ct. 2190,

2208 (2021).

      Disney asks this Court to “enjoin[] Defendants from enforcing” SB 4C and

HB 9B—the laws reorganizing RCID and reinstituting it as CFTOD—and to declare

those laws unenforceable. DE87 ¶ 124. But to establish traceability and

redressability, Disney must show that the State Defendants have “the authority to

enforce th[ose] particular provision[s] . . . such that an injunction prohibiting

enforcement would be effectual.” Support Working Animals, 8 F.4th at 1201

(citation omitted). Because neither the Governor nor the Secretary enforces SB 4C

or HB 9B, Disney cannot meet its burden.



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               A.      The Governor

       1.      The sole legal connection that the Governor has to SB 4C and HB 9B

is his authority to appoint members to CFTOD’s Board. See Ch. 2023-5, § 4. But an

official’s appointment power is not enough to satisfy Ex parte Young’s more-relaxed

“some connection” standard,6 much less Article III’s more-stringent traceability

requirement. See Falls, 2022 WL 19333278, at *1 (“[T]he Ex parte Young analysis

is, if anything, more lenient than Article III’s traceability requirement . . . .”).

       Despite acknowledging as much in earlier filings, DE58 at 7–8, Disney has

argued that this case is different because “the exercise of [the appointment] power

itself causes” Disney to lose the “voting rights” that secured its electoral stranglehold

over the District, id. (emphasis added).7 But it was the Legislature, not the Governor,

that repealed the 1967 RCID charter that animated Disney’s electoral monopoly. See

Ch. 2023-5, § 1. The Governor’s appointment power is just one aspect of the

governmental apparatus that the Legislature created to replace RCID’s charter. The



       6
        See, e.g., Peter B. v. Sanford, No. 6:10-cv-767, 2010 WL 5684397, at *3 (D.S.C. Dec. 6,
2010) (collecting cases holding that appointment power does not satisfy Ex parte Young), report
and recommendation adopted, No. 6:10-cv-767, 2011 WL 347019 (D.S.C. Feb. 1, 2011); see also
Equal. Fla., 2022 WL 19263602, at *8 & n.8; Denton v. Bd. of Governors, No. 4:22-cv-341, DE65
at 3–4.
       7
          Disney has also suggested that the Governor’s appointment power “chill[s]” its
“constitutional right to speak.” DE58 at 3, 5. But “[a]llegations of a subjective ‘chill’ are not an
adequate substitute for a claim of specific present objective harm or a threat of specific future
harm.” Laird v. Tatum, 408 U.S. 1, 13–14 (1972). It is not a redressable injury in its own right. See
Clapper v. Amnesty Int’l USA, 568 U.S. 398, 417–18 (2013); see also Hallandale Pro. Fire
Fighters Loc. 2238 v. City of Hallandale, 922 F.2d 756, 761 (11th Cir. 1991).

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cause of Disney’s alleged injury is thus not the Governor’s “enforcement” of HB

9B’s appointment provision, but the “very existence” of HB 9B’s repeal provision.

Equal. Fla. v. Fla. State Bd. of Educ., No. 4:22-cv-134, 2022 WL 19263602, at *2

(N.D. Fla. Sept. 29, 2022) (plaintiffs lack standing to sue state actors for harms

flowing from the mere existence of a law).

      Disney has conceded as much in recognizing that the act of “stripp[ing]” its

voting rights is distinct from the act of “replacing the locally-elected Board with a

new Board appointed by the Governor.” DE58 at 8. And that distinction is critical,

because again, “standing is not dispensed in gross.” TransUnion LLC, 141 S. Ct. at

2208. A plaintiff’s asserted injury must be “fairly traceable to the defendants’

conduct in enforcing the specific statutory provision they attack as unconstitutional.”

California v. Texas, 141 S. Ct. 2104, 2120 (2021) (emphasis added); see also Granite

State Outdoor Advert., Inc. v. City of Clearwater, 351 F.3d 1112, 1117 (11th Cir.

2003) (plaintiff had standing to challenge a provision that harmed him, but lacked

standing to challenge other provisions that did not). And the plaintiff must show that

“enjoin[ing]” the defendant official from “enforc[ing]” that specific statutory

provision would remedy the plaintiff’s alleged harm. Equal. Fla., 2022 WL

19263602, at *2.

      Enjoining the Governor from appointing new district board members,

however, would neither restore RCID’s prior electoral scheme nor reinstate Disney’s


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electoral monopoly. Id. Because Disney’s alleged voting injury flows solely from

the provision dissolving its electoral monopoly—which Disney does not contend the

Governor enforces—it cannot show that its injury is traceable to the appointment

provision or that it would be remedied by an order enjoining that provision. See

Brokamp v. James, 66 F.4th 374, 389 (2d Cir. 2023) (plaintiff lacked standing to

challenge “entire licensing law” because she was harmed only by a discrete part of

it). Enjoining the Governor would therefore “be [in]effectual,” and thus,

impermissible. Support Working Animals, 8 F.4th at 1201.

      In arguing otherwise, the only authority Disney has mustered is a single case

that the Ninth Circuit got wrong two decades ago. See DE58 at 9 (citing L.A. Cnty.

Bar Ass’n v. Eu, 979 F.2d 697, 699 (9th Cir. 1992)). Disney stressed Eu’s holding

that a different threshold defense—the Eleventh Amendment—did not bar suit

against a governor and secretary of state in a challenge to a statute prescribing the

number of judges on the state superior court. Id. (citing Eu, 979 F.2d at 704). But

that dubious holding does not speak to whether Disney has Article III standing to

sue the Governor. See Falls, 2022 WL 19333278, at *1; see also Jacobson, 974 F.3d

at 1256 (declining to extend Ex parte Young precedent to the standing analysis).

      Not even Disney defended Eu’s tortured approach to Article III standing. In

Eu, a plaintiff sued California’s governor for a declaration that a statute prescribing

the number of judgeships in Los Angeles County was unconstitutional because more


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judgeships were necessary to manage the County’s overburdened docket.

Recognizing that the plaintiff’s standing “may appear tenuous” because the governor

was powerless to appoint more judges without additional legislation, the Ninth

Circuit held (without state opposition) that the plaintiff had standing to sue the

governor because the court “assume[d]” it was “substantially likely that the

California legislature” would “abide by [the court’s] authoritative” declaration, even

though the legislature’s “members [were] not all parties to th[e] action.” Eu, 979

F.2d at 700–01.

      The Eleventh Circuit has disavowed that reasoning. A party’s standing must

flow from “the effect of the court’s judgment on the defendant,” not from “[a]ny

persuasive effect a judicial order might have upon” nonparties. Jacobson, 974 F.3d

at 1254 (quoting Lewis v. Governor of Ala., 944 F.3d 1287, 1301 (11th Cir. 2019)

(en banc)).

      2.      Disney has also claimed (without citation) that it has standing to sue the

Governor because his public statements show that he is “functionally in charge” of

the Board’s actions, DE58 at 10, even though he has no power to remove board

members at will, see generally Ch. 2023-5, Laws of Fla. In other words, Disney

contends that mere political influence is sufficient to support standing. To the

contrary, standing to challenge a statute turns on the exercise of governmental

power, i.e., formal power to enforce the challenged law. E.g., City of S. Miami v.


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Governor of Fla., 65 F.4th 631, 643 (11th Cir. 2023) (analyzing only whether official

had formal power to enforce challenged law); Jacobson, 974 F.3d at 1253 (same);

Support Working Animals, 8 F.4th at 1201 (same); Lewis, 944 F.3d at 1301 (same).

Were it otherwise, a plaintiff could drag anyone—lobbyists for example—with no

relevant enforcement authority into countless lawsuits simply by claiming that they

hold informal sway over those who do. But see supra 10 n.6 (collecting cases holding

that plaintiffs could not sue appointing officials for the acts of those they appointed,

even when the appointing official also had removal authority, e.g., Peter B., 2010

WL 5684397 (plaintiff could not sue governor for board’s actions even though he

could remove board members under S.C. Code § 44-20-210)); see also Disability

Rts. S.C. v. McMaster, 24 F.4th 893, 901 (4th Cir. 2022) (governor was not a proper

defendant in a challenge to a law that he “publicly advocated” for because he could

not enforce the law himself).

      Disney’s political-influence theory also faces insurmountable traceability and

redressability problems. For example, “a plaintiff lacks standing to sue over a

defendant’s action if an independent source would have caused him to suffer the

same injury.” City of S. Miami, 65 F.4th at 645 (citation omitted). That is one reason

an influential lobbyist is not a proper defendant; the challenger’s alleged injuries are

caused by someone else—the governmental official with enforcement power. Here,

the CFTOD Board has “independent obligation[s]” under HB 9B to regulate within


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the District. See id. at 643. Disney’s injuries therefore are not traceable to any

authority of the Governor, but to the Board’s independent duty to “follow the law[s]”

it is entrusted to execute. Id.; see also Univ. Life Church Monastery Storehouse v.

Nabors, 35 F.4th 1021, 1033 (6th Cir. 2022) (no standing to sue state attorney

general when local officials had independent obligation to enforce the challenged

law).

         None of the Eleventh Circuit cases that Disney has cited hold otherwise. See

DE58 at 15. In both Luckey v. Harris, 860 F.2d 1012 (11th Cir. 1988), and Georgia

Latino Alliance for Human Rights. v. Governor of Georgia, 691 F.3d 1250 (11th Cir.

2012), Georgia’s governor was a proper defendant because he was formally charged

with enforcing the challenged parts of Georgia’s criminal-justice system. See City of

S. Miami, 65 F.4th at 644–45 (distinguishing Luckey and Georgia Latino Alliance

on that basis in holding that plaintiffs lacked standing to sue Florida’s Governor).

The Governor, by contrast, has no comparable formal power.

         Nor does Disney find footing in Culinary Workers Union, Local 226 v. Del

Papa, 200 F.3d 614 (9th Cir. 1999). See DE58 at 15. A fractured panel there held

that, even if California’s attorney general lacked the power to enforce a criminal

statute, her formal written threats to enforce the statute or to refer the case to local

prosecutors sufficed to establish standing. Id. at 618. But Disney points to no such

formal threats here. More fundamentally, the Eleventh Circuit has rejected Del


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Papa’s haphazard approach to standing, e.g., City of S. Miami, 65 F.4th at 643;

Jacobson, 974 F.3d at 1253; Support Working Animals, 8 F.4th at 1201; Lewis, 944

F.3d at 1301, adopting instead the same view as the Del Papa dissent: Plaintiffs lack

standing when the state defendant “has no power to” enforce the challenged law. Del

Papa, 200 F.3d at 619 (Brunetti, J., dissenting).

      Finally, Disney has suggested that the Governor will “indirectly” coerce the

Board through his “suspension powers.” DE58 at 10. But the Eleventh Circuit held

in City of South Miami that the Governor’s power to suspend local officials is no

basis to sue him regarding a law enforced by those officials. 65 F.4th at 642–43.

Much like that case, the complaint here “contains no [allegations]—none—that

Governor DeSantis would use his suspension authority” to suspend Board members

who do not follow his commands. Id. at 643. At most, the complaint highlights the

commonsense fact that Governor DeSantis has appointed Board members with

similar views on how best to regulate tourism in central Florida. E.g., DE87 ¶ 94

(quoting Governor as saying, in reference to the Board, that “[w]hen you lose your

way, you’ve got to have people that are going to tell you the truth”); see also

Kurowski v. Krajewski, 848 F.2d 767, 770 (7th Cir. 1988) (Easterbrook, J.)

(“Holders of the appointing authority may seek to ensure that [their appointees]

agree with them” and may thus “consider [the appointees’] views . . . when making

the appointment.”). That is a far cry from plausibly alleging that the Governor will


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suspend divergent Board members or that Board members are regulating Disney

only to avoid suspension (rather than to comply with their “independent

obligation[s]” under Florida law). City of South Miami, 65 F.4th at 645.

             B.     The Secretary

      The only connection Disney has identified between the Secretary and the

challenged provisions is his ministerial duty “to maintain the Official List of Special

Districts.” DE87 ¶ 18 (citing Fla. Stat. §§ 189.061, 189.012). But that mine-run

bookkeeping act does not animate CFTOD or affect its powers; HB 9B does that.

The Secretary’s power to maintain that list has no effect on Disney’s prior voting

rights, which were dissolved not by action of the Secretary, but rather through HB

9B’s repeal of RCID’s old charter. Supra 10–13. And though Disney has vaguely

referred to “constitutional injuries” when discussing the Secretary (DE58 at 12), it

has never explained what those injuries are or how the Official List inflicts them.

      Instead, Disney has argued that its harms are traceable to the Official List

because the District is unlawful and “cannot be properly included on the Official

List.” DE58 at 12. But that merely restates the end-result of Disney’s constitutional

theory; it says nothing of what concrete harm Disney suffers from the District’s

placement on the Official List. No doubt, Plaintiffs often contend that unlawful acts

should be undone, but Article III requires that the act be challenged by someone

actually harmed by it. See Granite State, 351 F.3d at 1117 (plaintiff lacked standing


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to challenge an act that did not harm him). And here, Disney’s alleged harms flow

not from recording the District in the Official List, but from the legislative provisions

that reconstituted the District and endowed it with powers.

      For similar reasons, Disney cannot show how its injuries would be redressed

by erasing the District from the Official List. In that world, Disney would still lack

the right to vote for the District’s Board, and it would still be regulated by the

reconstituted District. Since an injunction against the Secretary would “accomplish

nothing, it should not issue.” Hartmann v. Fed. Rsrv. Bank of Phila., 55 F. Supp.

801, 810 (E.D. Pa. 1944); see also Support Working Animals, 8 F.4th at 1201 (court’s

injunction must “be effectual”). Federal courts can remedy concrete harms, not order

erasure of legal enactments a plaintiff would rather have wiped from the law books.

See Jacobson, 974 F.3d at 1255 (citing Jonathan F. Mitchell, The Writ-of-Erasure

Fallacy, 104 Va. L. Rev. 933, 936 (2018)).

      In its final effort to hitch the Secretary to this case, Disney has claimed that

the Secretary has “direct statutory responsibility for supervising special districts and

enforcing their compliance with law.” DE58 at 16. Hardly. The Secretary does not

have roving authority to patrol the constitutionality of special districts and their

actions. He is responsible only for maintaining their presence on the Official List

and supervising their compliance with procedural reporting requirements. E.g., Fla.

Stat. § 189.016. That limited authority is not a general power to “enforc[e] their


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compliance with law.” DE58 at 16. And even if it were, a state official’s general

duty to enforce the law does not establish standing to sue that official for a local

entity’s actions. E.g., Jacobson, 974 F.3d at 1254; Lewis, 944 F.3d at 1300; see also

Women’s Emergency Network v. Bush, 323 F.3d 937, 949 (11th Cir. 2003).

      II.    DISNEY’S CLAIMS AGAINST THE STATE DEFENDANTS ARE BARRED BY
             SOVEREIGN IMMUNITY.

      The Eleventh Amendment bars federal-court litigation against the State unless

the immunity is waived or validly abrogated by Congress. Grizzle v. Kemp, 634 F.3d

1314, 1319 (11th Cir. 2011). Under Ex parte Young, 209 U.S. 123 (1908), there is

an exception for suits seeking prospective injunctive relief against individual state

officials who “enforce the law . . . at issue in the suit.” Grizzle, 634 F.3d at 1319.

But as described above, neither the Governor nor the Secretary enforces SB 4C or

HB 9B. Those acts are enforced, at most, by CFTOD’s Board and Administrator—

entities animated by the tandem of SB 4C and HB 9B.

      Disney’s attempts to link the State Defendants to those laws are unpersuasive.

Disney focuses on the Governor’s role in signing SB 4C and HB 9B, e.g., DE87

¶ 17, but signing a law is not “enforcing” a law, cf. Jacobson, 974 F.3d at 1257;

Support Working Animals, 8 F.4th at 1204, and the Governor is entitled to absolute

legislative immunity for that act in any event, infra 21; DE49 at 19–24. Nor does the

Governor’s power to appoint CFTOD Board members establish an adequate

connection to the challenged acts, supra 10 n.6 (collecting cases holding that the


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power to appoint enforcing officials does not make the appointing official an Ex

parte Young defendant); see also Equal. Fla. v. Fla. State Bd. of Educ., No. 4:22-cv-

134, 2022 WL 19263602, at *8 & n.8 (N.D. Fla. Sept. 29, 2022) (observing that an

official’s appointment power did not suffice to make him an Ex parte Young

defendant, and that the plaintiffs had specifically “withdr[awn] their claims against

the Governor because of Eleventh Amendment immunity, even though the

Governor” had appointment power); Denton v. Bd. of Governors, No. 4:22-cv-341,

DE65 at 3–4. The Governor’s general power to suspend local officials, too, does not

establish a sufficient enforcement connection under Ex parte Young. See Women’s

Emergency Network, 323 F.3d at 949 (“A governor’s ‘general executive power’ is

not a basis for jurisdiction in most circumstances.”). Nor is the Secretary’s clerical

role of jotting CFTOD’s name in the state record the type of enforcement

responsibility that waives sovereign immunity. Cf. Whole Woman’s Health v.

Jackson, 142 S. Ct. 522, 532–33 (2021) (ministerial actors do not enforce laws).

      The Court should thus dismiss the claims against the State Defendants on

sovereign-immunity grounds. See Tex. All. for Retired Americans v. Scott, 28 F.4th

669, 672–74 (5th Cir. 2022) (dismissing Texas Secretary of State on sovereign-

immunity grounds because he did not enforce the challenged provisions).




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      III.     TO   THE EXTENT DISNEY CHALLENGES THE GOVERNOR’S
               LEGISLATIVE ACTS, ITS CLAIMS ARE BARRED BY LEGISLATIVE
               IMMUNITY.

      Disney’s complaint is chock full of allegations about the Governor’s

legislative actions. It alleges that the Governor “called on the Legislature to pass

bills to punish Disney for its speech,” DE87 ¶ 17; “signed [the bills] into law,” id.;

and “would not have promoted or signed” the bills “but for [a] desire to punish

Disney,” id. ¶ 119. The Governor has previously explained (DE49 at 19–24) that all

those acts are legislative in nature, see In re Hubbard, 803 F.3d at 1308, and thus are

protected by absolute legislative immunity, see Women’s Emergency Network, 323

F.3d at 950.

      In response to the Governor’s argument, Disney disavowed any desire to

challenge the Governor’s legislative acts and insisted that it challenges only the

Governor’s executive actions: his appointment power and his purported control over

the Board’s actions. DE58 at 17–20. As for the claims that Disney still presses,

Disney lacks standing to sue the Governor for those actions and has not overcome

his sovereign immunity for the reasons discussed above.

      IV.      DISNEY FAILS TO STATE A CLAIM.

      Finally, the State Defendants adopt and incorporate the additional arguments

raised in the CFTOD Defendants’ motion to dismiss.




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                                CONCLUSION

      For these reasons, the Court should dismiss the operative complaint, or at

minimum, dismiss all claims against the State Defendants.



Dated: September 28, 2023                Respectfully submitted,

                                         ASHLEY MOODY
                                          Attorney General of Florida

                                         JOHN GUARD (FBN 374600)
                                          Chief Deputy Attorney General

                                         JAMES H. PERCIVAL (FBN 1016188)
                                          Chief of Staff

                                         /s/ Henry C. Whitaker
                                         HENRY C. WHITAKER (FBN 1031175)
                                           Solicitor General

                                         DANIEL W. BELL (FBN 1016188)
                                          Chief Deputy Solicitor General

                                         DAVID M. COSTELLO (FBN 1004952)
                                          Deputy Solicitor General


                                         OFFICE OF THE ATTORNEY GENERAL
                                         The Capitol, PL-01
                                         Tallahassee, FL 32399
                                         (850) 414-3300
                                         henry.whitaker@myfloridalegal.com

                                         Counsel for Governor DeSantis and
                                         Secretary Kelly




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                        CERTIFICATE OF COMPLIANCE

      This motion complies with the requirements of Local Rule 7.1(F) because it

contains 5,089 words.

                                        /s/ Henry C. Whitaker
                                        Solicitor General




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                         CERTIFICATE OF SERVICE

       I hereby certify that on September 28, 2023, a true and correct copy of the

foregoing was filed with the Court’s CM/ECF system, which will provide service to

all parties.

                                          /s/ Henry C. Whitaker
                                          Solicitor General




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